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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

UNITED STATES, ex rel
GARY CRESSMAN,
Plaintiff/Relator
CIVIL ACTION NO, 13-CV-5693

¥v.

SOLID WASTE SERVICES, INC. d/b/a
J.P, MASCARO & SONS,
Defendant

 

RULE 26 INITIAL DISCLOSURES OF DEFENDANT,
SOLID WASTE SERVICES, INC, d/b/a J. P,. MASCARO & SONS

Solid Waste Services, Inc. d/b/a J. P, Mascaro & Sons (“Mascaro”) reserves the right to
add witnesses and documents as their identities and/or relevance become known.

I, Rule 26(a)(1)(A)(i) — Individuals who may have discoverable information.
1, Pasquale N. Mascaro, President of J. P. Mascaro & Sons
2650 Audubon Road

Audubon, PA 19403
Phone: 484-398-6500

Pat Mascaro may have discoverable information about his position and duties;
about the company generally; about corporate profile information; about corporate services and
facilities; about company operating divisions; about company experience and history in the solid
waste industry; about the Souderton Division of J. P. Mascaro & Sons; about the Mascaro
transfer station; about the company Environmental Compliance Department and programs; about
company compliance and safety programs; about general information relating to Souderton
Division General Manager Sonny Macelak and Maintenance Manager Mark Bowe; and about
other general information about the company, the Souderton Division, personnel and services.

2. Thomas Sasssaman, Controller of J. P. Mascaro & Sons
2650 Audubon Road
Audubon, PA 19403
Phone: 484-398-6500

Thomas Sassaman may have discoverable information about his company
position and duties, about any waste service contracts Mascaro had with the U.S. government or
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U.S. government entities during the relevant time period; about the amount billed and received
for any such contracts; about records of leachate disposal from the Souderton Division to the

Bridgeport wastewater treatment plant; and about general customer billing procedures and
practices,

3. Michael A. Mascaro, Director of Operations of J. P. Mascaro & Sons
2650 Audubon Road
Audubon, PA 19403
Phone: 484-398-6500

Michael Mascaro may have discoverable information about his company position
and his duties; about J. P. Mascaro & Sons’ various operating divisions, including the Souderton
Division, about operating division locations, facilities, services and personnel; about the
Souderton Division transfer station and its leachate collection system; about Souderton Division
personnel, including General Manager Sonny Macelak and Maintenance Manager Mark Bowe;
about Souderton Division customers; about Souderton Division equipment; about company
environmental compliance and safety programs; about DEP transfer station inspections, about
job duties and performance of General Manager Sonny Macelak and Maintenance Manager
Mark Bowe; about other Souderton Division employees; about Souderton Division leachate
collection and treatment; and about tonnage of waste received at Souderton Division transfer
station and volume of leachate generated.

4. Joseph P. Mascaro, III, Director of Facility Permitting and Deputy Director
of Sales and Marketing for J. P. Mascaro & Sons
2650 Audubon Road
Audubon, PA 19403
Phone: 484-398-6500

Joseph P. Mascaro, IIT may have discoverable information about his position with
the company and his duties; about Mascaro’s DEP permitted transfer station at the Souderton
Division; about other Mascaro-related DEP permitted solid waste facilities; about Mascaro’s
Environmental Compliance Department and environmental compliance programs, about DEP
transfer facility inspections at the Souderton Division transfer station; about the Souderton
Division operations, facilities and services; about the February 27, 2013 meeting with Gary
Cressman and Mascaro company representatives regarding the February 25, 2013 leachate
“Discharge Incident” at the Souderton Division; about the pictures Gary Cressman took of the
Discharge Incident; about the February 27, 2013 memo he prepared regarding the meeting with
Gary Cressman; about his self-reporting the Discharge Incident to DEP on February 27, 2013,
and scheduling a meeting with DEP at its offices on February 28, 2013; about the February 27,
2013 memo he received from Mascaro Director of Engineering, Ryan K. Inch, regarding his
inspection of the area where the Discharge Incident took place; about his February 28, 2013
letter report to DEP and the February 28, 2013 meeting with DEP about the Discharge Incident;
about the firing of Sonny Macelak and Mark Bowe on February 28, 2013; about the Consent
Assessment Civil Penalty with DEP because of the conduct of Sonny Macelak and Mark Bowe;
and about the DEP facility permit for the Souderton Division transfer station.
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5. Matthew Mascaro, Director of Environmental Compliance for J. P. Mascaro
& Sons
2650 Audubon Road
Audubon, PA 19403
Phone: 484-398-6500

Matthew Mascaro may have discoverable information about his position and
duties at J. P, Mascaro & Sons; about what Gary Cressman reported to him on February 27, 2013
while he and Cressman were on the Souderton Division property; about the cell phone
photographs that Cressman showed him regarding the Discharge Incident; and about what he did
immediately upon learning of the conduct that Cressman reported to him.

6. Ryan K. Inch, P.E., Director of Engineering for J. P. Mascaro & Sons
2650 Audubon Road
Audubon, PA 19403
Phone: 484-398-6500

Ryan Inch may have discoverable information about his company position and
duties; about the Souderton Division facilities, transfer station, and leachate collection system;
about the transfer station operation; about the collection and treatment of transfer station
leachate; about what leachate is, about how leachate is generated at a transfer station; about how
leachate is regulated and treated; about his February 27, 2013 inspection of the area where the
Discharge Incident took place; about what remedial steps he took after learning about the
Discharge Incident; about how Souderton Division leachate is discharged into a public sewer
system for offsite treatment; and about transfer station annual reports with DEP.

7, Pasquale N. Mascaro, Jr., Human Resources Director for J. P. Mascaro &
Sons
2650 Audubon Road
Audubon, PA 19403
Phone: 484-398-6500

Pat Mascaro may have discoverable information about the February 27, 2013
meeting that Mascaro representatives had with Gary Cressman at Mascaro’s corporate
headquarters; about what happened at that meeting; about the cell phone pictures Cressman
presented at that meeting; about what actions were agreed upon and taken as a result of that
meeting; and about the firing of Sonny Macelak and Mark Bowe on February 28, 2013.

8. William F. Fox, Jr., Esquire, General Counsel for J. P. Mascaro & Sons
2650 Audubon Road
Audubon, PA 19403
Phone: 484-398-6500

William F. Fox, Jr. may have discoverable information about how he first learned
of the Discharge Incident by Sonny Macelak and Mark Bowe; about the February 27, 2013
meeting that Mascaro representatives had with Gary Cressman at Mascaro corporate
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headquarters; about what happened at that meeting; about the cell phone pictures Cressman
presented at that meeting; about what actions were agreed upon and taken as a result of that
meeting; about the preparation of the Employment Termination Memos for Sonny Macelak and
Mark Bowe; about the firing of Sonny Macelak and Mark Bowe in the early morning of
February 28, 2013; about the February 28, 2013 letter report to DEP regarding the Discharge
Incident; about the February 28, 2013 meeting with DEP representatives regarding the Discharge
Incident; about the Consent Civil Penalty Assessment Agreement with DEP because of the

improper conduct of Macelak and Bowe, and about other general information related to the
Discharge Incident.

Hl. Rule 26(a)(1)(A)Gi) — Documents that Mascaro may use in the defense of this action
include, but are not limited to, the following:

1. DEP permit for Mascaro transfer station at Souderton Division property;
2. Gary Cressman’s cell phone pictures of Discharge Incident;
3, February 27, 2013 Memo from Joseph P. Mascaro, IH to File, regarding February

27, 2013 meeting with Gary Cressman and Mascaro representatives regarding Discharge
Incident;

4, February 27, 2013 Memo from Ryan Inch, P.E. to Joseph P. Mascaro, III

regarding inspection of area where Discharge Incident took place and remedial action to be
taken;

5. February 27, 2013 Employment Termination Notices for Sonny Macelak and
Mark Bowe, prepared by William F. Fox, Jr., Esquire;

6, February 28, 2013 Letter report from Joseph P. Mascaro, II] to DEP
Representative Kevin Bauer regarding the Discharge Incident, which letter report was delivered
to DEP at a February 28, 2013 meeting with DEP representatives;

7. March 8, 2013 Memo from Pat Mascaro to Sonny Macelak regarding his job
termination;

8. Documents related to Consent Assessment Civil Penalty Agreement with DEP
dated September 13, 2013 regarding Discharge Incident by Macelak and Bowe;

9, DEP transfer station inspection reports for Mascaro transfer station at Souderton
Division property;

10, 2009-2014 Leachate Collection, Transport and Treatment Records for Mascaro
transfer station leachate;

11. DEP Annual Reports for Mascaro transfer station, 2009-2013;
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12. Documents regarding Mascaro’s Environmental Compliance Department and
programs,

13. Mascaro New Hire Safety & Compliance Manual;
14, Mascaro Employee Handbook;

15. Customer Account/Contract information with U.S. government or USS.
government entities for waste services between January 1, 2008 and June 30, 2014,

16. Accounting documents showing amount billed and amount received on customer
accounts/contracts with U.S. government or U.S. government entities for waste services between
January 1, 2008 and June 30, 2014;

17. General corporate profile information documents and experience history
documents.

II. Rule 26(a)(1)(A)(iii) — A Computation of Each Category of Damages Claimed by the
Disclosing Party

Mascaro is the defendant in this False Claims Act case and it is not seeking any damages.

Mascaro will, however, be seeking attorneys’ fees and costs as provided for under the False
Claims Act.

IV. Rule 26(a)(1)(A)(iv) — Insurance Agreements
Mascaro has no insurance agreement under which an insurance business may be liable to

satisfy all or a part of a possible judgment in this action or to indemnify or reimburse for
payments made to satisfy a judgment that may be entered in this action.

Respectfully submitted,

és/ William F. Fox, Jr.

William F. Fox, Jr., Esquire, PA I.D. No. 21361
2650 Audubon Road

Audubon, PA 19403
484-398-6500
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Attorney for Defendant
